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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )                 4:08CR3177
                                       )
            V.                         )
                                       )
JOHN DOUGLAS SUTTON,                   )                   ORDER
                                       )
                  Defendant.           )
                                       )


      Upon receipt of the 2014 Drug Retroactive Sentencing Worksheet from the
Probation Office (filing no. 271),

      IT IS ORDERED that the defendant, John Douglas Sutton, is not entitled to a
reduction of sentence under Amendment 782 because (1) he is subject to a mandatory
minimum sentence of 120 months; and (2) under the Amendment, his sentence cannot
be reduced below the statutory minimum sentence.

      DATED this 23rd day of April, 2015.

                                      BY THE COURT:

                                      Richard G. Kopf
                                      Senior United States District Judge
